Case 9:23-cr-80101-AMC Document 699 Entered on FLSD Docket 01/13/2025 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON

     UNITED STATES OF AMERICA,                      )
                                                    )
                                                    )
                            Plaintiff,              )
            v.                                      )
                                                    )
                                                    )
     WALTINE NAUTA, and                             )
     CARLOS DE OLIVEIRA,                            )
                                                    )
                            Defendants.             )
                                                    )

                                               NOTICE

            This Court’s January 13, 2025, Order (Dkt. 697) temporarily enjoins the

     Department of Justice “from (a) releasing, sharing, or transmitting Volume II of the Final

     Report or any drafts of Volume II outside the Department of Justice, or (b) otherwise

     releasing, distributing, conveying, or sharing with anyone outside the Department of

     Justice any information or conclusions in Volume II or in drafts thereof.” The United

     States files this Notice to inform the Court and the parties that the Department of Justice

     does not construe this order to prevent disclosure of the Special Counsel’s transmittal letter,

     a letter from counsel for President Trump, and a letter from the Special Counsel in

     response. These documents were described in the United States’ January 12, 2025, filing,

     were provided under seal to the Court and Defendants’ counsel the morning of January 12,

     2025, and are separate from Volume Two of the Final Report. See United States’

     Supplement in Response to the Court’s January 11, 2025, Order at 2, Dkt. 692. When the

     Department of Justice publicly discloses Volume One of the Special Counsel’s Final

                                                   1
Case 9:23-cr-80101-AMC Document 699 Entered on FLSD Docket 01/13/2025 Page 2 of 3




     Report following the expiration of this Court’s temporary injunction (assuming it is

     permitted to do so), the Department intends to also publicly disclose the transmittal letter

     from the Special Counsel, the letter from counsel for President Trump, and the letter from

     the Special Counsel in response.


     Dated: January 13, 2025                          Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General

                                                      MARKENZY LAPOINTE
                                                      United States Attorney

                                                      _s/ Elizabeth J. Shapiro
                                                      ELIZABETH J. SHAPIRO
                                                      D.C. Bar No. 418925
                                                      Special Bar ID #A5502352
                                                      United States Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      P.O. Box 883
                                                      Washington, D.C. 20044
                                                      Tel: (202) 514-5302 / Fax: (202) 616-8460
                                                      E-mail: elizabeth.shapiro@usdoj.gov




                                                  2
Case 9:23-cr-80101-AMC Document 699 Entered on FLSD Docket 01/13/2025 Page 3 of 3



                                    CERTIFICATE OF SERVICE

               I hereby certify that on January 13, 2025, I electronically filed the foregoing paper

     with the Clerk of the Court using the ECF system, which sends notice to all counsel of

     record.

                                                     /s/ Elizabeth J. Shapiro
                                                     Elizabeth J. Shapiro




                                                    3
